PETER A, BEE* READY FISHBEIN HATTER & DONOy. AN, itp

RICHARD P, READY
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PETER M. FISHBEIN SENIOR ASSOCIATES
JAMES R, HATTER **STEPHEN L. MARTIR
THOMAS J. DONOVAN + ** ANDREW K. PRESTON

DEANNA D, PANICO

IKENNETH A, GRAY

DONALD J. FARINACCI

WILLIAM C, DeWITT ASSOCIATES
+ BRIAN A. SUPER

MICHAEL P, SIRAVO
PETER OLIVERI, JR.

OF COUNSEL A TTORNE Y S-A T-L A W AMOS BRUNSON, JR.
EDWARD P. RA RHODA Y. ANDORS
ROBERT G. LIPP + JASON S. GREENFIELD

ROBERT R. McMILLAN (Retired)

* ALSO ADMITTED IN FL
** ALSO ADMITTED IN NJ

+ DECEASED

March 30, 2020

Hon. James Orenstein

US District Court Eastern District of New York
225 Cadman Plaza East

Chambers Room 1227 South

Brooklyn, New York 11201

Re: In the Matter of the Claim of Josiah Galloway v. County of Nassau, et al.
Case No, 2:19 cv 05026
Our File Ref.: 1444-1816

Dear Magistrate Orenstein:

Our office represents the Incorporated Village of Hempstead, Police Officer Steven
Horowitz, Shield No. 144, and Detective Kevin Cunnigham, Shield No.: 112, in the above-
referenced matter.

I am writing at this time to request permission to attend the initial conference, currently
scheduled to occur on Thursday, April 2, 2020, at 10:30 am, via telephone versus an in person
appearance. I make this request in connection with the ongoing COVID-19 precautions that have
been initiated by Governor Cuomo. If this does not meet with your Honor’s approval, please
advise, and I will appear in person.

Thank you.
Very truly yours,
tht lf
Michael a
MPS/mef

Address: 170 Old Country Road + Suite 200 * Mineola, NY 11501 * Telephone (516) 746-5599 » Fax (516) 746-1045
